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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




DAVID PHELPS, #2217535,                   )
                                          )
             Petitioner,                  )
                                          )            CIVIL ACTION NO.
VS.                                       )
                                          )            3:21-CV-1248-G-BK
DIRECTOR, TDCJ-CID,                       )
                                          )
             Respondent.                  )




       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The court reviewed the

proposed findings, conclusions, and recommendation for plain error. Finding none,

the court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge.

      SO ORDERED.

October 15, 2021.

                                      ___________________________________
                                      A. JOE FISH
                                      Senior United States District Judge
